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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     ROBERT O’BRIEN
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Robert_O’Brien@fd.org
 6
     Attorney for Steve Hill
 7
 8                               UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:20-cr-00031-APG-DJA
11
                    Plaintiff,                              STIPULATION TO CONTINUE
                                                            ORDER
12                                                            EVIDENTIARY HEARING
            v.
                                                                  (Second Request)
13
     STEVE HILL,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
17
     Trutanich, United States Attorney, and Kevin D. Schiff, Assistant United States Attorney,
18
     counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
19
     and Robert O’Brien, Assistant Federal Public Defender, counsel for Steve Hill, that the
20
     Evidentiary Hearing currently scheduled on January 27, 2021, be vacated and continued to a
21
     date and time convenient to the Court, but no sooner than sixty (60) days.
22
            This Stipulation is entered into for the following reasons:
23
            1.      Counsel for the defendant is in the process of filing a motion to compel
24
     production of confidential informant files in this case. Defense counsel believes the motion to
25
     compel confidential informant information would need to be decided before any evidentiary
26
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 1   hearing on the pending motion to suppress (ECF 34) 1 because the government alleges the
 2   confidential informant(s) provided reasonable suspicion for the traffic stop and additional
 3   investigation (ECF 35).
 4          2.       The defendant is in custody and agrees with the need for the continuance.
 5          3.       The parties agree to the continuance.
 6          This is the second request for a continuance of the Evidentiary Hearing.
 7          DATED this 8th day of January, 2021.
 8
 9    RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
      Federal Public Defender                         United States Attorney
10
11
      By /s/ Robert O’Brien                           By /s/ Kevin D. Schiff
12    ROBERT O’BRIEN                                  KEVIN D. SCHIFF
      Assistant Federal Public Defender               Assistant United States Attorney
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                ECF 34 is the corrected version of Defendant’s motion to suppress (ECF 31).
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                                                     01/08/21 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                       Case No. 2:20-cr-00031-APG-DJA
 4
                   Plaintiff,                        ORDER
 5
           v.
 6
     STEVE HILL,
 7
                   Defendant.
 8
 9
10         IT IS THEREFORE ORDERED that the Evidentiary Hearing currently scheduled for

11   Wednesday, January 27, 2021, be vacated and continued to ________________ at the hour of
      April 13,__.m.;
     ___:___    2021,oratto9:00  a.m.
                            a time andindate
                                          Courtroom  3A.
                                             convenient to the court.
12
                           11th
13           DATED this ___ day of January, 2021.

14
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                                              UNITED STATES MAGISTRATE JUDGE
16                                                  DANIEL J. ALBREGTS
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